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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    HUNTINGTON DIVISION

NAOMI SPENCER DALY,
DARRELL CASTLE and
DORREL W. ARTHUR

                Plaintiffs,

                v.                            No. 3:16-cv-08981

NATALIE TENNANT,
in her official capacity as
Secretary of State of the
State of West Virginia,

                Defendant.



MOTION TO JOIN BRIAN WOOD IN HIS OFFICIAL CAPACITY AS CLERK OF THE
   COUNTY COMMISSION OF PUTNAM COUNTY, WEST VIRGINIA AS AN
                   ADDITIONAL PARTY DEFENDANT


        Dorrel W. Arthur moves the Court for the entry of an order joining Brian Wood, in his
official capacity as Clerk of the County Commission of Putnam County, West Virginia [Putnam
County Clerk], as an additional party to this action.

        The Putnam County Clerk is required to be joined, if feasible, as a party to this action
pursuant to Rule 19(a)(1)(A), (B)(ii), Federal Rules of Civil Procedure.

        Brian Wood is the Putnam County Clerk and the chief election officer for Putnam
County, West Virginia. Mr. Wood is a citizen and resident of Putnam County, West Virginia and
therefore subject to service of process from this Court. His joinder in this action will not deprive
the Court of subject matter jurisdiction.

        Dorrel W. Arthur qualified as a non-affiliated, independent candidate for the office of
Putnam County Commissioner through the office of the Putnam County Clerk. The County Clerk

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is the chief election officer of the County and is the person who has been tasked by the Secretary
of State to enforce a retroactive filing deadline and remove Mr. Arthur's name from the ballot for
the November 8, 2016, general election. Mr. Arthur has been permitted to intervene as a plaintiff
in this civil action because, unlike the original plaintiffs, Mr. Arthur's candidacy and position on
the ballot is subject to determination by Brian Wood as Putnam County Clerk. In the absence of
Mr. Wood, the Court cannot accord complete relief among the existing parties regarding the
pending emergency motion for temporary restraining order.

           As the chief election officer of Putnam County, Brian Wood has a substantial interest
relating to Dorrel W. Arthur's continued candidacy and position on the general election ballot.
Disposing of this action in the absence of Brian Wood in his official capacity as Putnam County
Clerk may leave Mr. Arthur subject to a substantial risk of incurring inconsistent obligations or
results.

           Dorrel W. Arthur seeks no relief from the Putnam County Clerk other than continuation
of his name on the Putnam County general election ballot for the office of County
Commissioner; Mr. Arthur seeks no costs, attorney fees or monetary damages from County
Clerk Wood and, therefore, moves the Court that Mr. Wood be joined in this action as a
defendant against whom no relief other than injunctive relief is requested.

           The plaintiff Dorrel W. Arthur moves the Court for the entry of an order joining Brian
Wood as a party defendant to this action only in his official capacity as Putnam County Clerk
and only for the purpose of equitable, injunctive relief.


                                                       DORREL W. ARTHUR
                                                       BY COUNSEL
s/Harvey D. Peyton
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                               CERTIFICATE OF SERVICE


       I, Harvey D. Peyton, counsel for Dorrel W. Arthur, do hereby certify that I have this 21st
day of September, 2016, served a copy of the foregoing “Motion to Join Brian Wood in his
Official Capacity as Clerk of the County Commission of Putnam County, West Virginia as
an Additional Party Defendant” upon the following parties of record by using the Court’s
CM/ECF system which will send notification of such filing to the following CM/ECF participants:

Counsel for Plaintiffs:
amajestro@powellmajestro.com
helen@powellmajestro.com
jnelson@powellmajestro.com
paula@powellmajestro.com
bryan@bryansellslaw.com

       No attorney has yet made an appearance for the Defendant, Secretary of State Natalie
Tennant. However, I hereby certify that on September 21, 2016, I attempted service of the
foregoing “Motion to Join Brian Wood in his Official Capacity as Clerk of the County
Commission of Putnam County, West Virginia as an Additional Party Defendant” upon the
Defendant by emailing a copy to the following attorneys by electronic mail:

Ashley Summitt
Chief Counsel, West Virginia Secretary of State
easummitt@wvsos.com

Timothy Leach
Assistant Counsel, West Virginia Secretary of State
tleach@wvsos.com

J. Robert Leslie
Senior Deputy Attorney General, West Virginia Attorney General
James.r.leslie@wvago.gov



                                                      s/Harvey D. Peyton
                                                      HARVEY D. PEYTON




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